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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                               MCALLEN DIVISION

UNITED STATES OF AMERICA                       §
                                               §
VS.                                            § CRIMINAL ACTION NO. M-11-398
                                               §
ISRAEL AVILA                                   §


                           ORDER RESETTING SENTENCING

       IT IS HEREBY ORDERED that this matter (previously set for September 20, 2011) is

hereby reset for sentencing on October 20, 2011 at 2:00 p.m. in the 9th Floor Courtroom, United

States District Court, 1701 W. Business Highway 83, McAllen, Texas.



       SO ORDERED this 19th day of September, 2011, at McAllen, Texas.


                                               ___________________________________
                                               Randy Crane
                                               United States District Judge




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